Case 2:04-cv-02555-SHI\/|-dkv Document 14 Filed 06/21/05 Page 1 of 2 Page|D 26

IN THE UNITED sTATEs nIsTRIcT coUR'r 'F"’EU `3¥ ~% D-C-
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w.s. oF TN, MEMPH:$

JANICE SHIRLEY,
Plaintiff,
No. 04-2555 Ma/V

v.

UNITED STATES DEPARTMENT OF
TR.ANSPORTATION

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Defendant.

 

ORDER TO SHOW CAUSE

 

Before the court is Defendant's January 4, 2005, motion to
dismiss. Plaintiff has not yet responded to the motion, and the
time for response has passed. Plaintiff is hereby ordered to show
cause within eleven (11) days from the date of this order as to why
Defendant's motion should not be granted.

:”~d

So ordered this ay of June 2005.

J//W‘%__`

SAMUEL H. MAYS, JR.
UNITED S'I'ATES DISTRICT JUDGE

 

This document entered on the docket sh:’czt£ com !iance
with Rule 58 and/or 79(a) FRCP on " 6

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:04-CV-02555 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

